                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN



UNITED STATES OF AMERICA,

                      Plaintiff,
                                                           Case No. 25-CR-89
       v.

HANNAH C. DUGAN,

                      Defendant.



                  PROTECTIVE ORDER GOVERNING DISCOVERY


       The United States of America, by its attorney, Richard G. Frohling, Acting United

States Attorney, and defendant Hannah Dugan, by her attorneys, Steven M. Biskupic, Jason

D. Luczak and Nicole M. Masnica, have jointly moved and stipulated to the use and

disclosure of discovery materials. For the reasons stated therein, and for good cause shown,

the court APPROVES the stipulation. Accordingly, the court ORDERS that:

       1.      All the materials provided by the United States in preparation for, or in

connection with, any stage of the proceedings in this case (collectively, “the materials”) are

subject to this protective order.

       2.      The protective order does not limit the defendant or her counsel (defined as

counsel of record in this case or other lawyers retained to consult on this case) from disclosing

any information she already possessed that may also be included in the government’s

discovery. The defense may also host the government’s discovery on e-discovery platforms or
with other service providers, as necessary for review and analysis of the government’s

discovery.

       3.     The parties shall not disclose the materials directly or indirectly to any other

person or entity other than those connected with the litigation of this matter.

       4.     The materials may be used by the defendant and her counsel solely in

connection with the defense of this case, and for no other purpose, and in connection with no

other proceeding, without further order of this Court.

       5.     The defendant and the defendant’s counsel may only disclose the materials to

those employed to assist in the defense, persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize

disclosure (collectively, “authorized persons”).

       6.     The defendant and her counsel shall not copy or reproduce the materials except

to provide copies of the materials for use in connection with this case by the defendant and

defendant’s counsel. Such copies and reproductions shall be treated in the same manner as

the original materials.

       7.     The defendant and her counsel, as well as authorized persons, shall not disclose

any notes or records of any kind that they make in relation to the contents of the materials

and all such notes or records are to be treated in the same manner as the original materials.

       8.     Before disclosing materials to an authorized person, defense counsel must

provide the authorized person with a copy of this Order.

       9.     Upon conclusion of all stages of this case, all the materials and all copies made

thereof shall be disposed of in one of three ways, unless otherwise ordered by the Court. The

materials may be (1) destroyed; (2) returned to the United States; or (3) retained in defense


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counsel’s case file. In the event the materials are retained by defense counsel, the restrictions

of this Order continue in effect for as long as the materials are so maintained, and the materials

may not be disseminated or used in connection with any other matter without further order

of the Court.

       10.      The restrictions set forth in this Order do not apply to materials that are or

become part of the public court record, including documents that have been received in

evidence at any motion or evidentiary hearings, trial, or filed as part of this case. Personal

identifying information contained in any discovery material shall be redacted if the discovery

material is filed with this Court. If it is necessary for the Court to review the personal

identifying information contained within the discovery materials or a description thereof,

such filing shall be made under seal.

       11.      Nothing contained in this Order shall preclude any party from applying to this

Court for further relief or for modification of any provision hereof.



       SO ORDERED at Milwaukee, WI, this 15th day of May, 2025.



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                                                    United States Magistrate Judge




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